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AO 466A (Rev. 07/16) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                             District
                                                      __________      of Oregon
                                                                 District of __________

                 United States of America                                   )
                            v.                                              )    Case No. 3:21-mj-00032
                                                                            )
                      JEFFREY GRACE                                         )
                                                                            )    Charging District’s Case No. 1:21-mj-00178
                            Defendant                                       )

                                                 WAIVER OF RULE 5 & 5.1 HEARINGS
                                                      (Complaint or Indictment)

          I understand that I have been charged in another district, the (name of other court)                District of the District of
                                                                    Columbia                                                                .

          I have been informed of the charges and of my rights to:
          (1)       retain counsel or request the assignment of counsel if I am unable to retain counsel;
          (2)       an identity hearing to determine whether I am the person named in the charges;
          (3)       production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;
          (4)       a preliminary hearing to determine whether there is probable cause to believe that an offense has been
                    committed, to be held within 14 days of my first appearance if I am in custody and 21 days otherwise,
                    unless I have been indicted beforehand.

          (5)       a hearing on any motion by the government for detention;

          (6)       request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

          I agree to waive my right(s) to:
          u         an identity hearing and production of the warrant.
          u         a preliminary hearing.
          u         a detention hearing.
          ✔
          u         an identity hearing, production of the warrant, and any preliminary or detention hearing to which I may
                    be entitled in this district. I request that any preliminary or detention hearing be held in the prosecuting
                    district, at a time set by that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


Date:           02/04/2021                                                       Consented in presence of attorney
                                                                                          Defendant’s signature


                                                                                   C. Renee Manes (electronic)
                                                                                    Signature of defendant’s attorney


                                                                                          C. Renee Manes
                                                                                   Printed name of defendant’s attorney
